
Memorandum. The order should be affirmed.
Of the three elements required to be corroborated under the rigid requirements of the rape statute (former Penal Law, § 130.15), which prevailed at the time the defendant was convicted (see People v Linzy, 31 NY2d 99, 100-101), two of them, penetration and identity, were conceded. The third, "force or lack of consent” (at p 101) was supported by a legally competent, though equivocal, admission sufficient to create a question of fact (United States v Picarelli, 148 F2d 997, 998).
Chief Judge Breitel and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Cooke concur.
Order affirmed in memorandum.
